            Case 3:17-cr-00147-JBA Document 51 Filed 06/21/19 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                  :
                                          :     CASE NO. 3:17-CR-00147-JBA
                      Plaintiff,          :
                                          :
V.                                        :
                                          :
NATALIE LEVINE                            :
                                          :
                      Defendants          :     JUNE 21, 2019


 MOTION BY SPONSORING ATTORNEY TO BE EXCUSED FROM PROCEEDINGS


       Pursuant to Local Rule 83.1(d)(2), the undersigned counsel moves the Court for

permission to be excused from attending the sentencing hearing schedule for 2:00 p.m.

for the above-captioned matter. In support of this motion, the undersigned represents

as follows:

       1.         I represent defendant Natalie Levine in the above-captioned action, and

I have been acting a sponsoring attorney for visiting attorneys Thomas Gallagher and

Allison DeLaurentis of the law firm of Pepper Hamilton, LLP in Philadelphia,

Pennsylvania.

       2.         Attorneys Gallagher and DeLaurentis have represented defendant from

the outset of this action, and have acted as lead counsel in connection with all aspects

of her defense.

       3.         Attorneys Gallagher and DeLaurentis are experienced and capable

counsel.
            Case 3:17-cr-00147-JBA Document 51 Filed 06/21/19 Page 2 of 3



       4.         We have jointly determined that my presence is not necessary at the

sentencing hearing, or at any future proceedings to fully defend the defendant’s

interests.

       For the foregoing reasons, the undersigned requests permission to be excused

from the sentencing hearing and from any future proceedings.



                                          DEFENDANT,
                                          NATALIE LEVINE

                                          /s/ Robert B. Flynn
                                          Robert B. Flynn
                                          NEUBERT, PEPE & MONTEITH, P.C.
                                          195 Church Street, 13th Floor
                                          New Haven, Connecticut 06510
                                          Tel: (203) 821-2000
                                          Fax: (203) 821-2009
                                          rflynn@npmlaw.com




                                            2
         Case 3:17-cr-00147-JBA Document 51 Filed 06/21/19 Page 3 of 3




                                     CERTIFICATION

        I hereby certify that on June 21, 2019, a copy of the foregoing was filed
electronically [and served by mail on anyone unable to accept electronic filing]. Notice
of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system [or by mail to anyone unable to accept electronic filing]. Parties may
access this filing through the Court’s system.




                                                  /s/ Robert B. Flynn
                                                  Robert B. Flynn
                                                  NEUBERT, PEPE & MONTEITH, P.C.




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